Case 6:22-cv-00047-WWB-RMN Document 131 Filed 11/01/23 Page 1 of 15 PagelD 2661

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
Case No.: 6:22C V0047-WWB-RMN

BETHUNE-COOKMAN UNIVERSITY, INC.

Plaintiff,

DR. MARY MCLEOD BETHUNE NATIONAL
ALUMNIS ASSOCIATION, INC., MARY MCLEOD
BETHUNE NATIONAL ALUMNI ASSOCIATION, INC.,
And JOHNNY L. MCCRAY, JR. Individually,

Defendants,

NON-PARTY SUSTAINING THE LEGACY
LEGAL DEFENSE FUND, INC.’S OBJECTION TO
AND MOTION TO QUASH DOCUMENT SUBPOENA

Sustaining the Legacy Legal Defense Fund, Inc, (“The Fund”), which is not
a party to this case, hereby objects to and moves to quash the subpoena directed to
it which was issued by the Plaintiff, Bethune-Cookman University, Inc., and
received by The Fund on October 4, 2023.! A copy of the subpoena is attached

hereto as Exhibit “A”. The grounds for the objection and motion is as follows:

1 Counsel for the Plaintiff has granted an extension of time for the non-party to respond.
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1. Sustaining the Legacy Legal Defense Fund, Inc., (“The Fund”) is a non-
profit Florida Corporation devoted to the cause of raising funds to defray the
cost of the Dr. Mary McLeod Bethune National Alumni Association, Inc.’s
(“MMBBAA”), one of the Plaintiff's herein, legal fees, court costs and
litigation costs. It is a 501(c)(3) organization under the U.S. Internal
Revenue Code. See the Declaration of Percy L. Williamson, Sr. (Exhibit “B”
hereto)

2. The Fund was incorporated a few months ago, June 2023. It is not a party to
this case, and only relationship to the case is that it raises money to assist
MMBBAA defend itself in this trademark infringement case. See the
Declaration of Percy L. Williamson, Sr. (Exhibit “B” hereto)

3. The Fund is independent of the MMBBA and not administered nor
controlled by the MMBBAA. See the Declaration of Percy L. Williamson,
Sr. (Exhibit “B” hereto)

4. The non-party subpoena purports to require production of financial records
from January 1, 2023 until present, including the names of the donors. In
general terms the subpoena attempts to compel the organization to turn over

its financial records in a trademark infringement case in which it is not a

party.
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5. First, the subpoena seeks documents which are outside the general scope of
permissible discovery under Fed. R.Civ.P. 26(b)91). As the Court is aware,
that rule sets the outside limits of discovery as follows:

“,.Parties may obtain discovery regarding any
nonprivileged matter that is relevant to any party’s
claim or defense and proportional to the needs of the
case, considering the importance of he issues at stake in
the action, the amount in controversy, the parties’
relative access to relevant information, the parties’
resources, the importance of the discovery in resolving
the issues, and whether the burden or expense of the
proposed discovery outweighs its likely benefit.

The issue in this case is whether the Defendants MMBBAA, and its
President, Johnny L. McCray, Jr., infringed upon its trademark and other
intellectual properties. The Funds finances and to whom it gives money
voluntarily to in fulfilling its mission are simply not relevant to this case in
any way.

To the extent that the Plaintiff argues that it is relevant as to MMBBAA’s
ability to pay attorney’s fees at this juncture of the case is irrelevant as well.
The Fund is not required to give MMBBAA anything. It may choose to do
so or it may not choose to do so. They are two separate organizations
without interlocking directors. Quite simply, The Fund’s ability to pay is

not the same as MMBBAA’s ability to pay. An analogy would be one
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sibling assisting another sibling financially; however, just because the other

sibling gets a speeding ticket does not obligate the other to pay for it.

6. Secondly, the subpoena is also due to be quashed under Fed. R. Civ. P.
45(d)(iii) because compliance with the subpoena would require disclosure of
privileged or other protected matter. Each donor has given with an
expectation that their names would not be disclosed. Each donor is due
privacy and non-disclosure of their names. The United States Constitution
guarantees a right to associate. See, e.g., Roberts v. U.S. Jaycees, 468 U.S.
609,618 (1984); National Association for the Advancement of Colored
People v. Alabama, 357 U.S. 449, 460-61(1958). The Fund has
demonstrated that the disclosure of the sought information poses a chilling

effect upon those who choose to contribute to the Fund or become members.
WHEREFORE, the Fund prays for an order quashing the subject subpoena.

Local Rule 3.01(g) Certification
I hereby certify that the undersigned has conferred with opposing counsel

who opposes the Motion.

Dated: November 1, 2023 Respectfully submitted,
SIMMONS, FINNEY & WINFIELD, LLC

Attorneys for non-party
Sustaining The Legacy Legal Defense Fund, Inc.
Case 6:22-cv-00047-WWB-RMN Document 131 Filed 11/01/23 Page 5 of 15 PagelD 2665

1961 SW Park Place, Suite 202
Port St. Lucie, FL 34986

/s/ Linnes Finney, Jr.
LINNES FINNEY, JR., ESQ.
Florida Bar No. 353671
lfinney@sfwlegalteam.com
T: (772) 873-5900
F: (772) 873-3101

CERTIFICATE OF SERVICE

I hereby certify that on November 1, 2023, I authorized the electronic filing
of the foregoing with the Clerk of the Court using the CM/ECF system, which will
send a Notice of Electronic Filing to all counsel of record.

SIMMONS, FINNEY & WINFIELD, LLC
Sustaining The Legacy Legal Defense Fund, Inc.
1961 SW Park Place, Suite 202

Port St. Lucie, FL 34986

T: (772) 873-5900

F: (772) 873-3101

/s/ Linnes Finney, Jr.
LINNES FINNEY, JR., ESQ.

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499 88B (Rev. 02/14) Subpoena te Produce Documents. infiormtateon, or Objects or to Permit inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT
for the

Middle District of Florida

BETHUNE-COOKMAN UNIVERSITY, INC.

Plaintiff
¥v.
DR. MARY MCLEOD BETHUNE NATIONAL
ALUMNI ASSOCIATION, INC., et al.

Defendant

Civil Action No, 22¢v0047-WWB-RMN

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SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Sustaining The Legacy Legal Defense Fund Inc.; c/o Pinnacle Signature Group, inc., Registered Agent
927 Beville Road, Suite 108, South Daytona, FL 32119

(Name of person to whom this subpoena is directed)

G Production: YOU ARE COMMANDED to produce at the.time, date, and place set forth below the following
documents, electronically stored information; or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A

: Place: Greenberg Traurig LLP, Email: herbertg@gtlaw.com _Date and Time:
i 450 South Orange Avenue, #650, Orlando, FL 32801 10/20/2023 10:00 am

C1 Inspection of Premises: ¥OU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

| Place: : Date and Time:
| :
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The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a sabpoena: and Rule 45(«) and (g). AO to your duty to

respond to this subpoenz and the potential consequences of nor doing s /@/ Zz 3
ue ee 2 é: $09

Dates MDATEt>
CLERK OF COURT TIMEte
ee _ fs? Gregory Herbert
Signature of Clerk or Deputy Clerk Aterney’s signature

The name, address, e-mail address, and telephone number of the attomey representing tare of pert:
Pigintiff, Bethune-Cockman University, Inc... ee ce et veces

Gregory W. Herbert, Greenberg Traurig LLP, 450 South Orange Ave, Ste 550, Oriando, Fi 32801, herbertg@gtlaw.com

. who issues or requests this subpoena, are:

Notice to the perscn wie issues or requests this subpoena
if this subpoena commands the production cf documents, electronically stored information, or tangible things or the
inspection of premises before tria!, a notice and a copy of the subpoena must be served on each: party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45¢a\(4).
Case 6:22-cv-00047-WWB-RMN Document 131 Filed 11/01/23 Page 7 of 15 PagelD 2667

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AD 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22cv0047-WWB-RMN

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and sitle, if any)
On (date)

© I served the subpoena by delivering a copy to the named person as follows:

on (dates ; or

C@ I returned the subpoena unexecuted because: .

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, [ have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of S 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:
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Re

AO 88B (Rev. 02/14) Subpoenz to Produce Documents, Information. or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(ec) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacis business in person; or
(8) within the state where the person resides, is employed, or regularly
transects business in person, if the person
(i) is a party ora party’ 's officer: or
(ii) is commanded to attend a trial and would not incur substantial
expease.

(2) For Other Discovery. A subpoena may command:

{A) production of documents, electronizally stored information, er
tangible things at a place within 100-miles of where the person resides, is
employed. or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to aveid.inposing undue burden or.expense on 2 person subject to the
subpoena. The court for the district where compliance is required must
enforces this dizy and impose an appropriate sanction—which may include
lost earnings and reasonable artomey's fees—on a party or attomey who
fails to comply.

(2) Comunand to Produce Materials er Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
productica or inspection unless also commanded to appear for a deposition,
‘hearing, or trial,

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting. copying, testing, or
‘sampling any or all of the materials or to inspecting the premises—ar to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
‘compliance or 14 days after the subpoena is served: If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person. the serving party
may move the court for the district where compliance is required for an
order compelling production or inspectian.

(ii) These acts may be required only as directed in the onder. and the
order must protect a person who is neither 3 party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When ) Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time lo comply;

Gil) requires a-person to comply beyond the geographical limits
specified in Rule 45(c):

Gti) requires disclosure of privileged or other protected matter. if no
exception or waiver epplies: or

(iv) subjects a person to undue burden.

(B) When Permitied. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may. on
motion; qixash or modify the subpoena if it requires:

{i) disclosing a trade secret or other confidential research.
development, or commercial information; or

(ii) disclosing an unretained. expert's opinion or information that dees
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

© Specifiing Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B). the court may. instead of quashing or
modifying a subpoena. order appearance or production under specified
conditions if the serving party:

(3) shows a cabatanital need for the testimony or maicrial that cannot be
otherwise met without undue hardship: and

(ii) ensures that the subpoenzed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

() Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding ta 4 subpoena ta produce documents
thust produce them as they are kept in the ordinary course of business or
must organize and labe) them to correspond ta the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena docs not specify a form for producing electronically stored
information, the pesson responding must produce it in a form or forms in
vhich it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored information Produced in Only One Form. The
person responding need not produce the same electronically stared
information in more than one form.

(D) fnaccessible Electronically Stored Information. The person
tesponding need not provide discovery of electronically stored information
from sources thal the person identifies as not reasonably accessible because
of undue burden or cast. On mation to compel discovery or for 2 protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
madc, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26{bx(2KC). The court may specify conditions for the discovery.

(2) Claiming Privilege or Prefection.

(A) Jnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged ar subject to protection as trial-preparalion
material must:

i} expressly make the claim: and

{ii) describe the nature of the withheld ducuments, communications. or
tangible things.in a manner that. without revealing information itself
privileged or protected. will enable the parties 10 assess the claim.

{B) /njormation Produced. \f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify am —
that received the information of the claim and the basis for it Alter bei
notified, a party must promptly retum, sequester, or destroy the specified
information and uny copies it has; must-not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may prompily
present the information under scal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the clsim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
mation is transferred, the issuing, court-~may hold in contempt a person
who, having been served, fails without adequate excuse to obcy the
subpoena or an order related to it.

For access fo subpocns materials, see Fed. R. Civ. P. 45¢a) Committee Note (2013).

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Case 6:22-cv-00047-WWB-RMN Document 131 Filed 11/01/23 Page 9 of 15 PagelD 2669

Exhibit A

L__DEFINITIONS
lL. “Plaintiff” refers to Bethune-Cookman University, Inc.

2. “Defendants” refers to DR. MARY MCLEOD BETHUNE NATIONAL ALUMNI
ASSOCIATION, INC., MARY MCLEOD BETHUNE NATIONAL ALUMNI ASSOCIATION,
INC., and JOHNNY L. MCCRAY, JR., individuatly, and any of their local chapters, agents,
representatives, officers, directors, shareholders, employees, or any other individuals or entities
working for Defendants, or acting on Defendants’ behalf or at its direction including, but not
limited to, distributors, attorneys, consultants, and independent contractors.

3. “Lawsuit” refers to Case No. 6:22-cv-0047-WWB-RMN pending in The United
States District Court for the Middle District of Florida, Orlando Division.

4. “Complaint” refers to the First Amended Complaint in this Lawsuit [ECF No. 33].

5. “Documents” refers to all electronically stored information, papers, books,
accounts, letters, photographs, objects, handwritten notes, memoranda, telephone messages, logs,
diaries, correspondences, writings, reports, contracts, drawings, graphs, charts, photographs,
recordings, data compilations or items from which information can be obtained or translated, and
any other tangible things. “Documents” also includes the foregoing in any recorded form,
including, but not limited to, electronic mail, computer files, disks, and drives, and specifically
incorporates, without limitation, all items referenced in Fed. R. Civ. P. 34(a)(1)(A).

6. “Communication” means the transmittal of information (in the form of facts, ideas,
questions, opinions, or otherwise) regardless of whether or not the transmission was recorded in
any way.

7. “Concerning” or “related to” or “relating to” means relating to, referring to,

pertaining to, describing. mentioning, discussing, commenting on, noting, responding to,
supporting, contradicting. evidencing, involving, embodying, substantiating, depicting,
suggesting, reflecting, or constituting in whole or in part.

8. The singular includes the plural and vice versa.

9. “And” and “or” should be read as both conjunctive and disjunctive, and neither
shall be interpreted to limit the scope of the Requests.

10. “Include” and “including” mean “include without limitation” and “including
without limitation,” respectively.

11. “You” and “Your” means Sustaining the Legacy Legal Defense Fund, Inc.

12. Requests stated in the present tense include the past tense and vice versa.
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13. Use of a verb in any tense shall be construed as the use of the verb in all other
tenses.

i. INSTRUCTIONS

1. For any and ail information responsive to a request that is stored
electronically, the electronically stored information shall be produced as described in the
enclosed Appendix “A” annexed hereto.

iil. DOCUMENTS AND THINGS TO BE PRODUCED
1. Your monthly bank statements from January |, 2023 to the present.

a Your financial reports or other financial records created or modified after January
1, 2023.

3. Documents reflecting Your total revenue and assets from January 1, 2023 to the
present, including but not limited to any spreadsheets, files, data, and reports.

4, All records relating to any donations, contributions, or other funds received
including but not limited to via the website https://www.stl-legaldefense.com:.

5. Communications between You, Your officers, directors, or members, and
Defendants and any of their respective officers, directors, members, chapters, former chapters, and
affiliates, from January 1, 2023 to the present, relating to this Lawsuit or Your solicitation or
receipt of funds and any financial transactions with Defendants.
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
Case No.: 6:22CV0047-W WB-RMN

BETHUNE-COOKMAN UNIVERSITY, INC.

Plaintiff,

DR. MARY MCLEOD BETHUNE NATIONAL
ALUMNIS ASSOCIATION, INC., MARY MCLEOD
BETHUNE NATIONAL ALUMNI ASSOCIATION, INC.,
And JOHNNY L. MCCRAY, JR. individually,

Defendants,

DECLARATION OF PERCY L. WILLIAMSON Sr.

I, Percy L. Williamson, pursuant to 28 U.S.C.A. $1746 (pertaining to
declarations), declare under penalty of perjury that the following statements by me
are true and correct to the best of my knowledge:

1. Lam Perey L. Williamson Sr., and I am over the age of nineteen (19) years
and in no way disqualified from making this declaration, which is made

from personal knowledge.
Case 6:22-cv-00047-WWB-RMN Document 131 Filed 11/01/23 Page 12 of 15 PagelD 2672

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I am the incorporator, President and Chairman of Sustaining the Legacy

Legal Defense Fund, Inc. (“The Fund”), a non-for-profit Florida corporation.

. The Fund’s Articles of Incorporation were filed on June 15, 2023, with an

effective date of June 10, 2023.

The Fund, an IRS approved tax-exempt 501(c)(3) non-profit organization
was established to assist the Dr. Mary McLeod Bethune National Alumni
Association, Inc. (“MMBBAA”) in paying legal fees, court costs and
litigation costs in the pending federal trademark infringement lawsuit.
None of the Board members of MMBBAA are officers or directors in the
Fund.

The Fund is independent of the MMBNAA and is not administered nor
controlled by the MMNBA.

Although members, none of The Fund’s Board of Directors are involved in

or with the litigation in the trademark infringement lawsuit.

. Plaintiff, Bethune-Cookman University, Inc, is attempting to seek our

records, which necessarily includes the names of our donors.
Other than support the Plaintiff's financially, The Fund is not involved in the

trademark infringement lawsuit.

10. Revealing the identities of our donors invades their privacy.
Case 6:22-cv-00047-WWB-RMN_ Document 131 Filed 11/01/23 Page 13 of 15 PagelD 2673 ©

11. Revealing the identities of our donors operates as a chilling effect with
respect to our future ability to raise funds.

12. Our website and through our solicitation of donors we expressly advise our
potential donors that “No disclosure of names of donors will be made public

unless requested to do so by the individual donor.”

13.] have reviewed the nonparty subpoena issued by the Plaintiff and it is
irrelevance to the federal trademark infringement issues in the lawsuit.

14. Without doubt, compliance with the subpoena would have a chilling effect
upon citizens who choose te exercise their constitutional rights in giving to
non-profit organizations without fear of retaliation.

15.For these reasons, The Fund respectfully urge the Court to quash the

subpoena in its entirety.

Signed this 1° day of November, pfs

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Petey L. Williamson, Sr.

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Case 6:22-cv-00047-WWB-RMN Document 131 Filed 11/01/23 Page 14 of 15 PagelD 2674

SIMMONS, FINNEY & WINFIELD, LLC
LAWYERS MAKING A DIFFERENCE

October 25, 2023

Linnes Finney Jr, Esq. 1961 SW Park Place, Suite 202
Port St. Lucie, FL 34986
lfinney@sfwiegalieam.com
(772) 873-3900

mede.williamson@gmail.com

Sustaining the Legacy Legal Defense Fund, Inc.
c/o Mr. Percy L. Williamson Sr., Chairman

RE Bethune-Cookman University, Inc v. Dr. Mary McLeod Bethune National Alunmni
Associaiton, Inc.
Middle District of Florida: No. 22cev0047-WWB-RMN

Dear Mr. Williamson:

We are pleased that you have retamed us in connection with representation of you with respect to
the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of
Premises in a Civil Action served upon the organization by the Plaintiffs in the referenced case. I
will serve as lead counsel, unless agreed otherwise, and the Firm will provide any legal services
necessary in that role. This letter will govern the work to be performed by us with respect to the
before stated matters as well as all other legal work (and related costs) accomplished by the Firm
for you (“the Client”), unless a different fee and cost arrangement for such work is agreed upon
in writing by the parties.

This letter and the Firm’s Standard Fee Addendum (“Addendum”), attached hereto, describe the
basis on which our Firm will provide legal services to the Client and bill for those services.

1. Attormney_in Charge: The undersigned attorney of the Firm will be the “Attorney in
Charge” of the Client’s legal matters. Although other atforneys may be involved in
handling your matters, please always feel free to contact me with any questions ar
comments you may have with respect to your relationship with the Firm.

iw

Fees: Fees will be based upon our standard hourly rates as more fully described im the
Addendum. While my standard hourly rate is $495, you will receive a courtesy discount
and I will charge you only $400.00 per hour. Should other attorneys in the Firm be
needed to work on the file, the hourly may differ, but a similar discount will still be
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given. Rates are usually adjusted in January. Billig will be monthly, unless Court
approval is required for payment. Out of pocket expenses will be addressed in Section 4
of this letter.

3. Retainer: You will pay a retainer of $3,500.00.

4. Cost Deposit: You will not be required to pay a cost deposit.

The retainer may be paid electronically by debit/credit card or by electronic check
by going to our firm’s website: sfwlegalfeam.com. Click on the PAY
RETAINER button at the top of the website page and follow the instructions
paying by electronic check, debit or credit card. Please be sure to reference the
matter number:

10-23-2350 and/or Sustaining the Legacy Legal Defense Fund, Inc.

This letter constitutes the “Accompanying Letter” described in the Addendum and, together with
the Addendum, constitutes the arrangement upon which we have agreed to undertake
representation of the legal matiers described in this letter. Please review the foregoing. If the
arrangement described in this letter and the Addendum are not acceptable to you im all respects,
please let us know. If it meets with your approval, kindly sign the Authorization to Perform
Services (Authorization”}. This letter and the Authorization, and the Addendum will constitute
the arrangement between you and the Firm with respect to the matters set forth herein.

Thank you for retaining us and we look forward to continuing to work with you. I am
Sincerely yours,

SIMMONS, FINNEY & WINFIELD, LLC

| I /) Av Linnes Finney, Jr.

| / // mes Finney Jr, Esq.
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10-23-2350 LD x / / /
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“ Dates Les pins

tay E WwW i son, Sr., Individually and
abs gf Sustaining the Legacy Legal Defense Fund, Inc.

1961 SW Park Place, Suite 202, Port St. Lucie, FL 34986 | P 772.873.5900 | F 772.873.3101 | www.siwiegalteam.com
